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                          IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                   HARRISON DIVISION


     UNITED STATES OF AMERICA                                                  PLAINTIFF


                   v.             Civil No. 11-30002-002


     MICHAEL PIERCE                                                            DEFENDANT



                                          O R D E R

             NOW on this 30th day of April 2013, the above referenced matter

     comes    on   for   the   Court’s   consideration      the   motion   filed   by   the

     defendant, entitled Petition for Release from Probation (Document #96)

     and the government’s response thereto.              The Court, being well and

     sufficiently advised, finds and orders as follows:

             1.    On September 1, 2011, this Court entered Judgment against

     the defendant, Michael Pierce, finding him guilty on the following

     charges:

             * Count 1, conspiracy to possess unregistered firearms;

             * Count 2, making a false, fictitious or fraudulent material

     statement;

             * Count 3, making a false, fictitious or fraudulent material

     statement; and,

             * Counts 4-10 and 13, possession of an unregistered firearm.

             2.    With respect to each charge, Pierce was sentenced to 3 years

     of supervised release, to run concurrently.              Pierce was also ordered

     to pay $1,100.00 in special assessments and $5,000.00 in fines.

             3.    In the instant motion, Pierce states that he has paid all

     fines and special assessments; and, has now served over two years on
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     supervised release.       Pierce seeks early termination of his supervised

     release, arguing:

           * he has complied with all rules required of supervised release;

           * he has attended all meetings with his supervising officers;

           * he has complied with          all     requests and directives of the

     supervising officers;

           * he has not been charged with any other violations of the law;

           * he still lives in the same residence                 in    Eureka Springs,

     Arkansas;

           * and that he remains happily married and socially active in

     Eureka Springs, Arkansas.

           4.    Pierce further argues that he is seventy-three (73) years

     old and has lived an exemplary life, other than the instant conviction.

           5.    The government has responded and objects to Pierce’s request

     for early termination of supervised release.                The government states

     that complying with the terms of his probation and doing what is

     required is not a sufficient reason for early termination.                        The

     government further argues that being on probation is not causing a

     hardship or onerous burden on Pierce.

           6.    Under 18 U.S.C. § 3583(e)(1), this Court may terminate

     supervised release “if it is satisfied that such action is warranted

     by the conduct of the defendant released and the interest of justice.”

     The Court must consider factors set forth in 18 U.S.C. § 3553, such as

     the   nature   and    circumstances     of    the    offense,     the   history   and

     characteristics      of   the   defendant,     the   need   to    provide   adequate

     deterrence to criminal conduct, and the need to provide the defendant



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     with correctional treatment in the most efficient manner.

           7.    Considering these factors, the Court finds that the instant

     motion should be, and hereby is, denied.

           IT IS SO ORDERED.


                                            /s/ Jimm Larry Hendren
                                            JIMM LARRY HENDREN
                                            UNITED STATES DISTRICT JUDGE




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